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Exhibit A
Part 1 of 3
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Schondelmeyer, Pharm.D., Ph.D., Stephen W.

Washington, DC

February 25, 2009

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL
INDUSTRY AVERAGE WHOLESALE
PRICE LITIGATION
THIS DOCUMENT RELATES TO
U.S. ex rel. Ven-a-Care of
the Florida Keys, Inc.

Vv.

Abbott Laboratories, Inc.,

No. 06-CV-11337-PBS

Page I

MDL NO. 1456

CIVIL ACTION

O1-CV-12257-PBS

Judge Patti B. Saris

Chief Magistrate

Judge Marianne B.

Bowler

Videotaped deposition of STEPHEN W.

SCHONDELMEYER, PHARM.D., PH.D.

Volume I

Washington, D.C.
Wednesday, February 25, 2009

9:00 a.m.

Henderson Legal Services, Inc.

202-220-4158

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A. It was essentially the same parties that
hired me for that June 2008 report. It's a group of
pharmacists that are providers to the Medi-Cal
program.

Q. What's the name of that group of
pharmacists?

A. Again, I'd have to look it up. I don't
recall.

Q. Did your report last week reach
substantially different conclusions than your report
in June of 2008 reached?

A. Well, the situation and the facts were
different. So there are some differences. But |
think the same basic premises are present.

Q. How did the facts differ?

A. Well, both of these had issues with respect
to how the Medi-Cal program and the state of
California directed the Medi-Cal program to pay
providers for prescription drugs. And the case last
year involved the state budget directing the Medi-Cal
program to cut payments to providers by 10 percent
across the board and again, other things that are

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physicians or those who are paid for prescription :
drugs on an outpatient basis and what would the impact]
be on Medi-Cal recipients and Medi-Cal of the budget |
cut that had been legislated. :

Q. What did you conclude with respect to the 5 |
percent reduction in payments to providers under :
Medi-Cal?

A. Well, my conclusions are stated in detail
in that report. | wouldn't want to attempt to cite
for you all of that report here.

Q. Can you characterize your conclusions in
any way?

A. I could characterize it, but | would
qualify that you need to refer to the entire report to
understand the conclusions that I characterize. |
believe in that report | characterized that a cut
would in some cases result in paying the pharmacy
below their actual costs for the drug product and in
some cases below their actual cost of dispensing for
the drug product and that such behavior could or such
payment policy could result in pharmacies either
refusing to provide prescription drugs under the

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described thoroughly in that report.

The most recent case -- and it's my
understanding, again, | don't follow all the legal
side of it. I do the legal expert pharmaceutical
market analysis. My understanding is preliminary
injunction was issued or an injunction was issued that
stayed that action by the state and subsequent to that
the state of California legislature passed a budget
that involved a 5 percent cut in the payments to
providers across the board.

So it differed substantially by the
percentage of the cut. But it was, again, across the
board for all payments for pharmaceuticals under
Medi-Cal for outpatient services.

Q. What was the context of your 2009 report,
the one that you filed just last week?

A. I just described that.

Q. What were you asked to opine about in the
report that you filed last week? What opinion were
you asked for?

A. The opinion was what would be the impact on
providers being in this case pharmacies and/or

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Page 7
Medi-Cal program, certain prescription drugs, or to
participate in general, and changes in that could
affect access of patients in California to outpatient
prescription drugs.

Q. Could you have rendered such an opinion in
this case?

A. I wasn't asked to. Again -- I don't know
what you mean by such an opinion. Do you mean the
same conclusion? Probably not. They have different
facts.

Q. Sure. lunderstand. You understand that
this case involves an allegation that payments to
providers and pharmacies were over that which was |
intended by the Medicaid and Medicare program? Is|
that a fair description of your understanding of the {|
case?

MS. BROOKER: Objection, form.

MR. COOK: Yeah. That is two questions.
Let me ask it better.

BY MR. COOK:

Q. Is it your understanding of the case that
the government alleges that providers and pharmacie :

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1 but does describe what you assert did happen? "In | variety of changes in the regulation that occurred.
2 addition, the financial incentives created by this 2 But the definition of estimated acquisition cost to
3 profitability played a large and problematic role in 3 the best of my knowledge did not change.
4 prescribing decisions, that is, prescribers responded 4 Q. Over what period did the definition of
5 to these high margins by tending towards administering | 5 estimated acquisition cost remain the same?
6 more drugs and more expensive drugs than might be 6 A. I believe that the stated explanation of
7 medically necessary or optimal for the health of the 7 estimated acquisition cost has been substantially the
8 patient." 8 same since 1977 to the present in a broad sense. The
9 A. You read a statement in paragraph 166 that 9 explanation I believe in paragraph 53 of page 30 in
10 I believe to be true in the context of the rest of the 10 Exhibit 1, I think we're still in, describes the
I] discussion presented in that paragraph and the rest of 11 intended definition of estimated acquisition cost
12 my report. I don't think you can take the statement 12 dates as far back as 1977 as described in an HHS
13 in isolation, though. 13. document titled "Limitation on payment" -- probably an]
14 Q. But lam correct that you are stating what 14 "of" rather than an "or" -- "reimbursement for drugs: [|
15 did happen, not what might have happened, correct? {5 Estimated acquisition cost."
16 MR. BREEN: Objection, form. 16 It goes on to describe the intent of the
17 A. Take the statement at its face value. 17 regulation was for each state to pay estimated
18 Q. Will you agree with me that the statement 18 acquisition costs, which was to be a cost as close as
19 asserts what did happen, not when might have happened?| 19 _ feasible to the price generally and currently paid by
20 MS. BROOKER: Objection, form. 20 providers. And that similar statement and policy has
21 A. I think it encompasses both, things that 21 been in effect since that time.
22 did happen and things that also might have happened. 22 Q. I'd like to turn your attention to
Page 119 Page 121 |
1 Q. You mentioned Medicaid and your report | paragraph 52, the second sentence that bleeds over foi,
2 relates to how Medicaid paid for various drugs, 2 acouple words onto page 30. And I'll read it for the |
3 correct? 3 record and we'll be put it up on the screen. "The
4 A. My report addresses Medicaid and the 4 estimated acquisition cost was developed as a way to
5 payment for prescription drugs. 5 simplify payment for prescriptions in a manner that
6 Q. The estimated acquisition cost regulation 6 was consistent with the Medicaid program's intent to |
7 that governed how Medicaid programs set up their 7 pay the actual acquisition cost for a given /
8 payment formula. Would you agree with me that that] 8 prescription drug or as close to the actual
9 regulation didn't change at all between 1991 and 20014 9 acquisition cost as is feasible." Do you see that?
10 A. I'm not sure I understand your question. 10 A. I see that statement.
11 What reg -- can you show me what regulation you're il Q. And on what do you base your opinion that
12 referring to? 12 it was the Medicaid's program's intent to pay the
13 Q. Well, let me show you in your report the 13 actual acquisition cost for a given prescription drug
14 regulation that you cite. It's on page 29, paragraph 14 or as close to the actual acquisition cost as is
15 52. You cite 42 C.F.R. Section 447.301, the October 15 feasible?
16 1, 2001 edition of the Code of Federal Regulations. 16 A. That was from statements made by the
17 Do you see that? 17 government in program memoranda, in final rules and
18 A. I see that particular reference. 18 the other documents that I've cited later down in
19 Q. Is it your understanding that that 19 paragraph 53 --
20 regulation as it existed in 2001 was the same 20 Q. Could you point me to the --
21 regulation between 1991 and 2001? 21 A. ~~ cite sources.
22 A. I'd have to look back. There were a 22 MS. BROOKER: I'm sorry. Dr.

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1 Schondelmeyer -- can you let him finish his answer | you set forth for the first time in paragraph 52 of
2 please, Chris? 2 your report talking about the Medicaid program's
3 Q. Could you point me to the specific bases 3 intent, correct?
4 for that understanding as reflected in your report? 4 A. I'd have to look back if that's the first
5 And I suppose we can start with 42 C.F.R. Section 5 place I cited that. I wouldn't want to say that's the
6 447.301, which you site just above that, right? 6 first place I cited that.
7 A. I don't recall that. If you go down to 7 Q. But you would agree with me that --
8 paragraph 53 there is -- I think the third sentence in 8 A. Those are related. I don't know what
9 paragraph 53. It says "the HHS memo to state Medicaid 9 you're asking.
10 directors stated 'the intention of the final Medicaid 10 Q. I'm just trying to establish -- and maybe
11 regulations on drug reimbursement is to have each 11 we can get to it very quickly. Would you agree wit
12 state's estimated acquisition cost as close as 12 me that your conclusion regarding the Medicaid =|
13 feasible to the price generally and currently paid by 13. program's intent to pay actual acquisition cost for al
14 the provider. The states are therefore expected to 14 given drug or as close to the actual acquisition cost |
15 set their ingredient cost levels as close as possible 15 as is feasible is an important basis for your ultimate,
16 to actual acquisition costs” and that the reference 16 conclusions and opinions?
17 for that is cited as HHS action transmittal and it 17 MR. BREEN: Objection, form.
18 gives a Bates number and dated December 13th 1977. 18 A. I believe this statement reflects the
19 Q. Keep your finger on that page but turn to 19 intention of the Medicaid program and what they
20 paragraph 228 on page 103 of your report in the 20 expected in terms of their reimbursement system and
21 summary section. The summary section summarizes thq 21 _ how it was to operate and how payors, providers,
22 opinions that you're expressing in this report, 22 manufacturers and others were to interact with and
Page 123 Page 125 |
1 correct? 1 facilitate the payment that accomplished that goal.
2 A. It'sasummary. It certainly isn’t all the 2 Q. And when you conclude that Medicaid
3 opinions, but it's a summary. 3 programs paid too much for Abbott drugs between 199],
4 Q. But it's fair to say that you picked out 4 and 2001, or at least those in the complaint, it is :
5 the most important aspects of the preceding 102 pages 5 that intention by the Medicaid program against which
6 to include in your summary, right? 6 you are measuring the actual payment, correct?
7 MS. BROOKER: Objection, form. 7 A. Well, 1 think this is an underlying
8 A. It's an overview of the conclusions. The 8 principle that states the government's expectation of
9 report as a whole stands. 9 what estimated acquisition cost should accomplish.
10 Q. The very first sentence of your summary 10 Although there are other factors that influence it,
11 reads "The Medicaid drug reimbursement system is based 11 this is one component of that, but not everything. As
12 upon the consistently stated intention of reimbursing 12 I describe in detail in other parts of the report, the
13. for drug products at their actual price, that is, a 13 payment under Medicaid is the lower of estimated
14 price ‘as close as feasible to the price generally and 14 acquisition cost plus a dispensing fee, or the federal
15 currently paid by the provider,’ a concept referred to 15 upper limit plus a dispensing fee, or if the state has
16 in the Medicaid program regulations and policies as 16 state maximum allowable cost limits set plus a
17 ‘estimated acquisition cost.'"" Did L read that 17 dispensing fee, or the pharmacy's usual and customary
18 correctly? 18 charge for a prescription.
19 A. | believe you did. I didn't follow every 19 And I think the reporting of inflated
20 word, but I believe it was correct. 20 prices to the price databases could influence other
21 Q. The concept that you state in the very 21 aspects in addition to the estimated acquisition cost.
22 first sentence of your summary is the same concept as 22 But this is one important component, yes.

32 (Pages 122 to 125)

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1 two sections is that the federal program expected 1 policy documents. It draws upon my experience in :
2 states to comply with that and that if states did not 2 working with Medicaid at the federal level and
3. those states would be viewed out of compliance with 3 Medicaid at state levels. And this represents an
4 the federal directives. 4 opinion that I believe to be true based on all of
5 Q. Again, we'll get to the Federal Government 5 those factors.
6 ina minute. But I'm simply trying to find out 6 Q. I'llask you a series of yes or no
7 whether I need to ask you more questions about whether, 7 questions and I'll ask if you can simply say yes, no,
8 ornot you are purporting to give testimony about the 8 or I can't answer it yes or no. The statement in
9 intent of the various state Medicaid programs. Andso | 9 paragraph 52 regarding the Medicaid program's intent
10 I'll ask you directly again. 10 is that statement an assumption that you have made?
11 Are you giving testimony about what the 1] MR. BREEN: Objection, form.
12 intent was of any of the various individual state 12 A. I believe this to be a true statement. I
13. Medicaid programs? 13 can't answer that yes or no,
14 MS. BROOKER: Objection, form. 14 Q. Have you assumed it to be true or do you
15 MR. BREEN: Objection, form. 15 know it to be true?
16 A. To the best of my knowledge, states 16 MR. BREEN: Objection, form.
17 intended to follow the federal directives so that they 17 A. [know this to be true.
18 could qualify for the federal cost sharing. That 18 Q. Do you know this to be true based upon :
19 following the federal directives included following 19 personal knowledge or based upon people you've spoken
20 the statements that I've pointed you to that are in 20 to and things you've read?
21 paragraph 534. So in that context I do believe the 21 A. All of the above.
22 states intended to follow all of the directives from 22 MS. BROOKER: Chris, at an appropriate time
Page 139 Page 141 |
1 the federal government so that they would qualify for | can we take a break whenever you want?
2 the cost sharing. And I believe it was the federal 2 MR. COOK: Yeah, let's take a break.
3 program's directive that they all were expected to set 3 MS. BROOKER: You want to do it now?
4 their ingredient cost levels as close as possible to 4 MR. COOK: Yeah. :
5 actual acquisition cost as stated in the directive 5 THE VIDEOGRAPHER: Off the record at 11:50.
6 memo that I pointed out to you. 6 (Recess.) /
7 Q. Your testimony and your statements in the 7 THE VIDEOGRAPHER: On the record at 12:03. :
8 report about the Medicaid program's intent, can you | 8 BY MR. COOK: :
9 tell me is that an opinion you're asserting, is that 9 Q. Dr. Schondelmeyer, I'd like to turn your
10 an assumption that you've made, or is that a 10 attention to paragraph 228 of your report. And this
11 conclusion that you've drawn from reviewing evidence} || is the first paragraph of your summary at the end of
12 or is it none of those? 12 your report. We already looked at the first sentence
13 MS. BROOKER: Objection, form. 13. of paragraph 228 and that is your statement about
14 A. The information presented here, first of 14 Medicaid intending to reimburse for drug products at
15 all, is based upon the sources described which are 15 their actual price. Do you see that?
16 matters of public record. And I've reviewed the 16 A. Isee the paragraph 228.
17 public record with respect to this program and the 17 Q. Do you see that in the first sentence you
18 policy and the detailed ways in which it's 18 state, or you characterize Medicaid's "stated
19 implemented. I've tracked and monitored and examined | 19 intention of reimbursing for drug products at their
20 in various ways evaluated, advised various Medicaid 20 actual price''?
21 programs in the federal government and Medicaid over | 21 A. Yes.
22 30 years. So this draws upon both what's stated in 22 Q. The second sentence relates te Medicare

36 (Pages 138 to 141)

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1 MS. BROOKER: Objection, form. | paid, there might have been a different payment system |
2 A, I'm answering the question. I did use the 2 later, yes. Or they would have stayed with the same [|
3 word just fine. And by that I meant accomplishing the 3 payment system because they said our intent is to pay
4 stated intent of the program. So I think ASP would 4 the price actually generally and currently paid by
5 have moved closer toward accomplishing the stated 5 providers and if they had evidence that that's what
6 intent of the program to pay as close as feasible to 6 was being paid, the intent of the program would have
7 actual acquisition cost. 7 been accomplished.
8 Q. So let's take Medicare. Medicare from 1998 8 Q. So are you moving away from your belief
9 through 2001 paid 95 percent of the AWP for Medicare 9 that with accurate prices in the system and average
10 Part B administered drugs, correct? 10 prices being published in Red Book the system wou
ll A. In general, with exceptions as we've noted. 11 have worked just fine?
12 Q. What exceptions? 12 MS. BROOKER: Objection, form.
13 A. With exceptions? I'd have to go back and 13 A. I don't understand why you say moving away
14 look up the regulatory exceptions as I've told you 14 from my belief. I'm saying that if the government
15 several times today | haven't memorized all of those. 15 felt confident that accurate prices were being
16 Q. There's a regulatory exception to the 16 reported they may not have changed their policy over
17 Medicare Part B payment formula between 1998 and 2001} 17 time. Changes in the policy occurred over time
18 is that what you're telling me? 18 because, as the government became aware that various i
19 A. {don't recall specifically. There may be. 19 providers were paying different prices and there were |
20 Often there were, over time, various minor drugs in 20 various reasons for those prices in the marketplace,
21 exceptions. In general it was 95 percent of AWP. 21 they attempted to make what corrections they could.
22 Q. Is it your testimony that the system would 22 But they still didn't have accurate prices from
Page 159 Page [6] :
| have worked just fine if Medicare Part B had paid 99 1 manufacturers. Truthful prices.
2 percent of ASP between '98 and 2001? 2 Q. Can you tell me what the system would have :
3 MS. BROOKER: Objection, form. 3. been if Red Book had been reporting empirical average:
4 A. No. That's not my testimony at all. | 4 of wholesale prices --
5 think the Congress moved toward 95 percent of AWP 5 MS. BROOKER: Objection, form.
6 because they realized that some payors were paying 6 Q. -- between 1991 and 2001?
7 less than AWP and realizing that they weren't getting 7 A. Well, you said empirical averages of
8 complete and accurate information from the 8 wholesale prices. I would qualify that because that
9 manufacturers that represented prices generally and 9 term doesn't have a specific meaning to me. If it was
10 currently being paid, they made attempts in their 10 actual prices currently and generally being paid I
11 reimbursement system to adjust for that. But again, 11 could tell you. If it's wholesale prices by some
12 they may not have even adopted the 95 percent of AWP] 12 other definition, it may be a different conclusion.
13. had the prices generally and currently being paid been | 13 Q. You're familiar with the definition that
14 reported prior to that time. So that policy may not 14 Judge Saris gave to average wholesale price in this
15 have even been enacted by Congress. 15 case, correct?
16 Q. So what your telling me is that if 16 MS. BROOKER: Objection, form.
17 manufacturers had reported prices other than the | 17 A. [recall seeing her definition. I believe
18 prices that they did report, a result might have been | 18 I commented on it at some point.
19 achange in the system? 19 Q. What do you understand Judge Saris'
20 A. Not just other than. If they had reported 20 definition of average wholesale price to be?
21 accurate prices that were verifiable and the market 21 MS. BROOKER: Objection, form.
22 recognized as prices generally and currently being 22 A. I believe -- again, we have to -- obviously

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| I'm not going to attempt to overly restate her 1 here what that is. That it has the plain meaning in :
2 position. But my understanding is that average 2 accordance with established principles of statutory
3. wholesale price has the plain meaning of an average 3 construction. That is that it's an average of the
4 wholesale price. That was what she felt it was 4 wholesale prices, meaning -- and price meaning an
5 intended to be. That isn't the prices reported. 5 actual price being paid in the market, a transaction
6 Q. Do you know where in your report you 6 price, not a list or a fictitious price.

7 describe Judge Saris' definition of average wholesale! 7 Q. If the average wholesale prices used by the
8 price? 8 Medicare and the Medicaid programs between 1991 an
9 A. Idon't, but I could look. 9 2001 had universally fit Judge Saris' definition, are
10 Q. Can you tell me whether the system would 10 you able to testify that those programs would have
11 have worked just fine if the average wholesale prices} 11 continued as they were and simply paid less money?
12 reported in Red Book and other compendia had been 12 MS. BROOKER: Objection, form.
13 average wholesale price as defined by Judge Saris? | 13 A. Well, if they used those prices and the
14 MS. BROOKER: Objection, form. 14 prices reported by the manufacturers that created the
15 A. I think back over time if the prices being 15 databases that Medicare and Medicaid relied upon had
16 reported as average wholesale prices would have been | 16 been prices generally and currently paid in the market
17 prices generally and currently paid in the market, 17 that were as close as feasible to actual acquisition
18 which I think is consistent with Judge Saris’ 18 cost, I believe with respect to at least drug product
19 expectation, | think the payment system would have 19 cost payment that the payment process by Medicare and
20 been accomplishing its intent, which is what I meant 20 Medicaid wouldn't have changed in ways that it did and
21 by just fine, that it accomplished its intent of 21 would have resulted in lower payments for those drugs.
22 paying a price generally and currently paid that's as 22 Q. Only on the drug ingredient cost portion

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1 close as feasible to actual price. | though, correct? :
2 MS. BROOKER: Paragraph 46. 2 A. Well, that's the only part that we're
3 MR. COOK: Thank-you. 3 evaluating here. This isn't about other aspects.

4 Q. Turn to paragraph 46. You refer in 4 Q. You don't consider what effect that might

5 paragraph 46 to Judge Saris having examined the 5 have had on the dispensing fee component of the

6 meaning of the term AWP in the Medicare context and | 6 payment?

7 determined that the term to be given its plain meaning | 7 MS. BROOKER: Objection, form.

8 in accordance with established principles of statutory 8 A. That's a separate consideration and that

9 construction. Did I read that correctly? 9 could be evaluated.

10 A. Actually, I haven't found that. This is 10 Q. So you haven't considered in any way what

11 paragraph 46 of which document? 11 the effect of lowering drug ingredient cost would have

12 Q. Paragraph 46 of your report in Exhibit 1. 12 on dispensing fees in the Medicare and Medicaid

13 MS. BROOKER: Not page. 13. programs?

14 Q. Paragraph 46. 14 MR. BREEN: Objection, form.

15 A. I'm on paragraph 46. 15 A. Not in the context of this case.

16 Q. The third sentence. 16 Q. So you're coming here to testify about

17 A. Oh, I see, it's in the middle. Okay, I see 17 lowering the drug ingredient cost for Medicare and .
18 it now, yes. 18 Medicaid between 1991 and 2001, and you're not in any
19 Q. Allright what is your understanding of the 19 way considering what impact that might have had on the :
20 meaning of average wholesale price as defined by Judge} 20 dispensing fee? Do I have that correct?
21 Saris? 21 MS. BROOKER: Objection, form.
22 A.  Lanswered that previously, and I state 22 A. Ihave considered that. 1 don't think one

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February 25, 2009

Washington, DC

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1 did. 1 Q, Can you characterize it in any way
2 Q. And so Myers and Stauffer did a report for 2 whatsoever?
3 that commission with respect to dispensing costs and | 3 A. Well, the commission was looking at the
4 acquisition costs? Do I have that correct? 4 impact on providers of cutting their payments for
5 A. For the Minnesota Medicaid program with 5 ingredient costs below the actual acquisition cost,
6 direction from the commission. 6 which is a different circumstance than what we're
7 Q. Did Myers and Stauffer reach any 7 describing here where pharmacies got paid above the
8 conclusions about what it cost home infusion 8 actual acquisition cost. So we looked at and just
9 pharmacies to dispense products in Minnesota? 9 comment upon that it wouldn't be reasonable for
10 A. I believe they just reported descriptive 10 businesses since pharmacies in home -- in this case
11 information on that and didn't address specific 11 pharmacies was the primary focus ~~ and providers to
12 conclusions. It wasn't the main purpose of the 12 the Medicaid program are private businesses. It
13 report. 13. wouldn't be reasonable for them to operate at below
14 Q. Did Myers and Stauffer quantify the 14 cost in the marketplace.
15 difference in the cost of dispensing for home IV 15 And if indeed the Deficit Reduction Act
16 pharmacies as opposed to retail pharmacies in that 16 resulted in payments that were below cost for certain |
17 report? 17 products that those pharmacies may either not dispense
18 A. Again, I believe they reported 18 those products or may drop out of the Medicaid :
19 descriptively that. But again, it wasn't the main 19 program.
20 focus of the report, so -- 20 Q. Soin this particular commission you :
21 Q. What was the description that Myers and 21 compared the ingredient cost before the DRA to the ;
22 Stauffer provided when comparing the cost to dispens¢ 22 _ ingredient cost after the DRA without looking at th :
Page 187 Page 189 |
| between home IV pharmacies and retail pharmacies in | adequacy of the dispensing fee; do I have that
2 that report? 2 correct?
3 A. Well, | don't recall the specifics. But in 3 A. We attempted to model what the ingredient
4 — general the home IV pharmacies did have a higher cost 4 cost would be after the DRA since it hadn't been
5 of dispensing than the typical retail community 5 implemented and it involved average manufacturer's
6 pharmacies. But I don't recall the detail or the 6 prices being reported by manufacturers under a new
7 specific quantity. 7 definition than the one that existed previously for
8 Q. Did the commission that you chaired result 8 which nobody had ever seen data. So we tried to model
9 in any changes in the manner in which Minnesota 9 what those prices might look like from other data and
10 Medicaid paid for pharmaceutical products? 10 tried to identify what the impact would be on product
1] A. The commission primarily addressed issues 11 costs, and that if in fact it resulted in a product
12 subsequent to the Deficit Reduction Act that was 12 cost below what pharmacies actually paid that the
13. passed and certain provisions of that were actually 13. primary providers in the Medicaid program, if it
14 put on hold due to an injunction. And so most of the 14 resulted in a product cost below what pharmacies
15 issues we addressed became moot because of that 15. actually paid, we commented that that would affect
16 injunction. 16 access.
17 Q. If the injunction had not been issued what 17 Q. Who is Cody Wiberg?
18 did the commission recommend that Minnesota Medicaid 18 A. Cody Wiberg is a pharmacist in Minnesota.
19 do in light of the Deficit Reduction Act? 19 He currently is the executive director of the
20 A. Oh, I'd have to look back. It's been a 20 Minnesota board of pharmacy.
21 while since I've done that. I have to look back at 2] Q. What was his prior position?
22 the detail of that report. 22 A. Prior to that he was a pharmacy program

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1 manager of some type within the Medicaid program in 1 Minnesota and other states when they set MAC rates
2 Minnesota. 2 want to set a maximum allowable cost for a given
3 Q. And when was he the pharmacy administrator 3 generic product taking into account the prices across
4 for Minnesota Medicaid? 4 different manufacturers and across different providers
5 A. He wasn't the administrator. He was a 5 for the same manufacturer as well as across different
6 manager. Not the principal administrator. I don't 6 providers for different manufacturers to represent and
7 recall when he finished. From the late '90s until 7 ~~ identify an upper limit such that pharmacies in the
8 sometime maybe four or five years later. He was not 8 state could generally and currently purchase products
9 in that position when | chaired the commission we're 9 at that price, but not the lowest possible price.
10 talking about. 10 Q. Was it your understanding that in setting
1 Q. Are you aware that Minnesota Medicaid has II MACs the Minnesota Medicaid program intentionall
12 MACs, M-A-Cs, established for a number of the products| 12 created a spread between actual acquisition cost and
13 that it reimbursed during the time period 1991 to 13. the MAC?
14 2001? 14 A. I'm aware that MAC programs sometimes would]
15 A. Yes, lam. 1S identify the lowest price and multiply it times a
16 Q. How did Minnesota Medicaid set those MAC 16 multiplier -- for example, 150 percent -- so that it
17 prices? 17 would create a range to assure that most pharmacies
18 A. That's somewhat of a mystery perhaps 18 could generally and currently purchase products at
19 sometimes, although they had a procedure defined and 19 that price.
20 they would check with some pharmacists in the state to 20 MR. COOK: Could you read the question
21 identify. But not on a very systematic basis. It was 21 back, please?
22 kind of a network of friends which -- you know, it 22 (Whereupon, the requested portion was read
Page 19] Page 193 /
1 wasn't as systematic as other states I've seen | _ by the reporter.) |
2 perhaps. 2 BY MR. COOK:
3 Q. Is it your testimony as an expert that 3 Q. Can you answer that question yes or no?
4 Minnesota Medicaid intended to set MAC prices as close. 4 MS. BROOKER: Objection, form.
5 as possible to the actual acquisition cost for 5 A. 1 would have to ask what you mean by
6 pharmacies of those products that they were MAC'ing? | 6 — spread. I defined it as ] intended. And that was it
7 A. I think MAC prices are one part of an 7 multiplied 150 percent times the lowest price they
8 overall reimbursement formula. And there are a 8 found. It creates a type of spread. But it was with
9 variety of factors that go into setting MAC prices. | 9 the intention of setting a price such that they could
10 think MAC prices are intended to set an upper limit on 10 reasonably expect that pharmacies could generally and
11 the payment for prescription drugs in the Medicaid 11] currently purchase the product at or below that price.
12. program. And MAC prices first of all are used in 12 If you have a different meaning of spread
13 products that are generics that have therapeutic 13 ora different context and want to clarify that, I'd
14 equivalents and not only multiple purchasers but 14 __ be glad to try to address it.
15 multiple manufacturers selling therapeutically 15 Q. Was it your understanding that in paying
16 equivalent products and there may be different prices 16 the ingredient cost portion of its drug reimbursement |
17 across those different manufacturers. 17 in the 1990s the Minnesota Medicaid program intende
18 And so in setting the MAC rate, this upper 18 to pay a dollar amount greater than actual acquisition :
19 limit for payment. It's not the criteria -- they 19 cost? :
20 don't pay MAC automatically. It's one ofa criteria 20 A. For dispensing fees or for ingredient cost
21 of several other things in a lower-of criteria. But 21 or--
22 _ it's setting the upper limit. | believe that 22 MR. COOK: Could you read the question

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1 again? 1 Q. Is it your testimony that you are ascribing :
2 (Whereupon, the requested portion was read 2 an intent to Minnesota Medicaid different than Mr.
3 _ by the reporter.) 3. Wiberg ascribed to it?
4 A. Again, with generics there are different 4 MS. BROOKER: Objection.
5 providers in the marketplace. And I think they 5 A. [haven't offered an opinion on what
6 intended to pay greater than the lowest price in the 6 Minnesota Medicaid's intent per se was. You've
7 market at times. What the Medicaid program intended 7 ~ offered to me what Cody Wiberg's opinion was on that.
8 within the scope of their state plan beyond that | 8 And my comment is that I don't see in Minnesota
9 think is a matter of evaluation in terms of the state 9 documents statements that support that.
10 plan and the federal regulations. 10 Q. Did Minnesota Medicaid intend to pay more
11 BY MR. COOK: 11 than acquisition cost in the ingredient cost portion
12 Q. Is it your understanding that the Medicaid 12 of their drug reimbursement between 1990 and 20014.
13. program in Minnesota in the 1990s intended to pay the 13 MR. BREEN: Objection, form.
14 pharmacies approximately 8 to $10 more than their =| 14 A. I've seen no document from the state of
15 actual acquisition cost in setting their ingredient 15 Minnesota saying that they intended to do that. I did
16 cost? 16 read the deposition of Cody Wiberg and see what he
17 A. There may be Medicaid programs -- Cody may | 17 _ said as an individual. But in working with Medicaid
18 have made such a comment. Cody sometimes expressed | 18 programs in general and with the state of Minnesota,
19 views and opinions that weren't necessarily the 19 I'm not aware of any document that says that that was
20 official opinion of the state Medicaid program. 20 their intent, an official document that holds the
2] MR. COOK: Could you read my question 21 weight of policy.
22 again? 22 MR. COOK: Could you read my question back, |
Page 195 Page 197 |
1 (Whereupon, the requested portion was read | please? /
2 _ by the reporter.) 2 (Whereupon, the requested portion was read
3 A. I've seen no written document stating that 3 by the reporter.)
4 from the state of Minnesota Medicaid program. I've 4 MS. BROOKER: Objection, asked and
5 seen no statute or policy advocating that from the S answered.
6 state of Minnesota. You know, given official sources | 6 BY MR. COOK:
7 that I would normally look at and rely upon, I've seen | 7 Q. Can you answer that question yes or no?
8 no evidence of that. 8 MR. BREEN: Objection, form.
9 BY MR. COOK: 9 A. | can’t answer that yes or no. I can
10 Q. Have you read Cody Wiberg's deposition in| 10 | answer it with a qualification, as I've done. :
1] this case? 1 Q. So on page 29 of your report you can opin :
12 A. I did read his deposition. 12 on the Medicaid program's intent to pay actual
13 Q. So when I asked you that question and you | 13 acquisition cost, but to be real clear you are unabld
14 said you had seen no evidence of it you didn't bother 14 __ to opine on what the intent was of the Medicaid |
15 listing off the testimony of the pharmacy 15 program in Minnesota, correct?
16 administrator in Minnesota, right? 16 MS. BROOKER: Objection.
17 MS. BROOKER: Objection, form. 17 MR. BREEN: Objection, form.
18 A. | listed off the sources that I would refer 18 A. No. That's not correct. I think the
19 to to see what the policy of Minnesota Medicaid is. 19 statement on -- if you'll permit me to go there. The
20 In general, while Cody had some role over policy that |20 statement on page 29, paragraph 52 that you're
21 was not to the best of my understanding within the 21 referring to is again the one that I said is the
22 scope of his authority to make such a policy. 22 federal Medicaid's intent. And as I pointed out on

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1 paragraph 53 on the next page, that that's the 1 when I have a difference between those I do give
2 expectation of the federal program that the states 2 deference to the official formal written policies
3._will set their ingredient cost levels as close as 3 versus the comment of an individual. Yes, I do give
4 possible to actual acquisition cost. And I believe 4 deference to official policies.
5 that that is the intent of the Medicaid program in 5 Q. Are you offering an opinion on the meaning
6 Minnesota as well. 6 of federal statutes and regulations that you reviewed
7 And I have not seen official documents from 7 in preparation for your testimony here today?
8 the state in writing that suggest otherwise, 8 A. [don't understand what you mean.
9 notwithstanding the comments in deposition of Cody 9 Q. Well, you're telling me that when you
10 Wiberg. But that isn't an official document or 10 testify or give an opinion about what Medicaid
11 doesn't hold the weight of policy. II intended you're basing that upon regulations and
12 Q. Earlier on today when you were describing 12 official documents from the Medicaid program; do I
13 how it was that you can testify what Medicaid expected] 13 have that correct?
14 and what Medicaid intended, you referred to 14 A, On--
15 conversations you had had with officials at various 1S MS. BROOKER: Objection, form. Sorry. Go
16 Medicaid and Medicare programs. Do you recall that | 16 ahead.
17 testimony? 17 A. I'm basing it on written statutes, :
18 A. I recall something to that effect. I don't 18 regulations, policy memorandum and other documents and]
19 know if it was exactly that term. 19 I've quoted in here sources that I am relying upon :
20 Q. So now you're no longer willing to rely 20 that are official documents and have consistently
21 upon conversations with officials at Medicare and 21 reported this same information over time.
22 Medicaid in determining what Medicare and Medicaid | 22 Q. What expertise do you have to interpret for
Page 199 Page 201 |
| intended? Do I have that correct? | this jury statutes, regulations and official
2 MS. BROOKER: Objection, form. 2 documents?
3 A. No, you don't have it correct. I do take 3 A. Well, | don't do so as a lawyer in the
4 — into account comments of officials. But I also 4 legal sense. However, my master's degree is in public}
5 compare those against the official documents and the 5 administration and public policy from Ohio State
6 official statutes, regulations and policies issued by 6 University. And that master's program, the core of
7 federal Medicaid and state plans of state Medicaid 7 _ that was based on three major courses. One was the |
8 programs, and I give those more weight than the 8 policy formulation. One was policy implementation. |
9 comment of an individual that's not backed up by those 9 And one was policy evaluation. :
10 documents. 10 And as a part of that master's program in :
1 Q. Soin reviewing statements and sworn 11 addition to the methods of each of those processes we]
12 testimony in preparation for your testimony today you| 12 _ had to pick a particular piece of legislation and doa |
13. weighed the various testimony and decided which was| 13 complete legislative history and documentation and
14 more credible and which was less credible? Do I have| 14 — interpretation of what were the factors involved in
15 that correct? 15 the formulation of that policy, what were the factors
16 MS. BROOKER: Objection, form. 16 involved in implementation of that policy and what
17 A. J would phrase it more that I identified 17 were the factors involved in evaluation of that
18 what are the statutes, regulations, written policies 18 policy, and to what degree did the reasons it was
19 of the federal and state Medicaid programs. And then 19 brought about and the ways it was implemented have |
20 when I read depositions or comments of various 20 concurrence with what actually occurred at the end. |
21 individuals | compared them, weighed them, against the | 21 I looked at -- I believe it was Public Law
22 official formal written policies and documents. And 22 93641, which was -- I believe that was a health

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an understanding of how it was that Medicare Part B | 1 Earlier I referred to IMS does -- is a data
paid for the drugs listed in Exhibit 547 when they 2 collection service that largely collects information
were administered to a Medicaid beneficiary on an 3. from pharmacies, hospitals, wholesalers and then
outpatient basis between 1992 and 1998? 4 provides information back to pharmaceutical companies,}

A. I've read this and it does refer to the 5 used for market intelligence, including pricing
lower of the estimated acquisition cost or the 6 issues. But the invoice data they collect is invoice
national average wholesale price of the drug. The 7 data before discounts are taken, And so it isn't
estimated acquisition cost it describes in the 8 always a reflection of the prices actually generally
regulation is to be determined based on surveys of 9 and currently being paid in the market.
actual invoice prices paid for the drug. 10 MR. BREEN: Chris, are we at a point where

Q. My question to you is what percentage of 1] we can take a break?

MR. COOK: That would be a great idea.

MR. BREEN: Are you done with this section?

MR. COOK: We can come back to it. This is
a good place for a break.

the claims submitted to Medicare Part B for drugs in | 12
this case between 1992 and 1997 were paid based upon| 13
estimated acquisition cost and what percentage were | 14
paid based upon the national average wholesale price?| 15

at tl hk
OOD WN = CWO MAIDA MN Bw —

A. I don't know that specifically. One could 16 THE VIDEOGRAPHER: Off the record at 4:02. /
assess that. With a data set of claims that were paid 17 (Recess.) :
and with a data set that had the historical prices in 18 (Exhibit Abbott Schondelmeyer 004 and
the national average wholesale price database, you 19 Exhibit Abbott Schondelmeyer 005

20 could assess which ones were paid at that national 20 were marked for identification.) :
21 average wholesale price or ones that were paid ona 21 THE VIDEOGRAPHER: On the record at 4:13. |
22 different basis. So one could assess that and that is 22 BY MR. COOK: :

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measurable. I wasn't asked to do damages or estimate
the quantity or a value of claims paid on a specific
basis.
Q. Were claims paid by Medicare Part B based

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] =
2
3
4
upon the national average wholesale price between 1992 5
6
7
8
9

Q. Mr. Schondelmeyer, I will hand you what
I've asked the court reporter to mark as Exhibits 4
and Exhibit 5. And while you look at those, for the
record, Exhibit 4 is a June 2002 report by Myers and
Stauffer entitled "Study of Medi-Cal pharmacy :
reimbursement." Exhibit 5 is a report prepared by yo
dated June 2008 entitled "Impact of 10 percent fee for |
service payment reductions on Medi-Cal beneficiaries |.
and pharmacies.”

Now, turning your attention first back to
Exhibit 3 -- and we'll be looking at Exhibits 3, 4 and

and 1997?

A. I believe there are and would have been
some based on this approach.

Q. Were claims paid by Medicare Part B between
1992 and 1998 based upon the estimated acquisition 10
cost as described in this regulation? 1]

mth th
COO DO RB WH SK DO MAA UH RB Wh me

A. They may or may not have been. It's my 12. Sin conjunction -- Exhibit 3 is the December 2007
understanding that the carriers that were to implement 13. Myers and Stauffer report on a survey of dispensing
this had some difficulty in doing invoice surveys and 14 and acquisition costs of pharmaceuticals in the state
even invoices may or may not have reported prices 15 of California. And if you turn where we were before
actually, you know, currently and generally being paid 16 on pages 6 and 7 of Exhibit 3, we were in the process
by providers. Sometimes invoices carry a list price, 17 of summarizing the conclusions of Myers and Stauffer
i.e. the average wholesale price or the wholesale 18 in this December 2007 report.
acquisition cost, which isn't necessarily the price 19 Now, starting with the section entitled

20 generally and currently being paid. It's kind of a 20 "dispensing cost," would you agree with me that Myer:
21 list price even on the invoice and then sometimes 21 and Stauffer concluded the state-wide average or mean|
22 ‘there are off invoice discounts. 22 cost of dispensing weighted by Medi-Cal volume was

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| $10.81 per prescription? 1 was too high?
2 A. That's on page 6? Is that the one you're 2 A. Not as an average. But again, for
3 referring to? 3 individual pharmacies it may be.
4 Q. Yes, sir. The bolded language under 4 Q. And in fact your criticisms as you had
5 dispensing cost. 5 expressed in June 2008 suggested that if anything the
6 A. What you've said is a close paraphrase of 6 Myers and Stauffer cost of dispensing was too low,
7 what their conclusion appears to be. 7 correct?
8 Q. And you've incorporated that conclusion 8 A. As an average.
9 into reports that you've prepared, including 9 Q. Yes.
10 specifically Exhibit 5, the June 3, 2008 report, 10 A. But not for all pharmacies in California.
11 correct? 1] Q. You suggested that perhaps Myers and
12 A. IJ discuss that conclusion and address 12 Stauffer's cost of dispensing was too low as an
13. comments and criticisms of their method and 13 average, correct?
14 alternative conclusions. 14 A. As an average or median or mean, yes.
15 Q. Do you have any reason to believe that the 15 Q. Now, Myers and Stauffer also determined
16 $10.81 per prescription cost that Myers and Stauffer | 16 what the average cost to acquire drugs was for
17 found in December 2007 overstated the cost to dispense] 17 pharmacies in California in 2007, at least for the
18 pharmaceuticals in California? 18 thousand or so single-source drugs that they surveyed, /
19 A. Well, [ believe it's an average or a mean 19 correct?
20 cost of dispensing as they defined weighted on 20 A. They have an acquisition cost estimate, if
21 Medi-Cal volume. It may overstate for some specific 21 that's what you mean by acquired drugs.
22 pharmacies their cost of dispensing. I believe there 22 Q. And the acquisition cost estimate I think
Page 295 Page 297 |
1 were pharmacies with cost of dispensing that appeared | 1 we already determined for single-source drugs was 79 :
2 to be as low as 4 or $5 and some with costs of 2 percent of average wholesale price, correct? /
3. dispensing that went up to 50 or $60. 3 A. The average average acquisition cost was
4 Q. But you would consider the Myers and 4 that. Again, it's an average of averages for -- an
5 Stauffer survey and analysis to be accurate, correct] 5 average of the invoices for an NDC and an average of
6 A. No. I didn't say that. I said I wrote an 6 the averages across all those NDCs.
7 analysis and critique of their methods and alternative 7 Q. And of the multiple-source drugs that Myers |
8 conclusions based on that critique. | believe they 8 and Stauffer surveyed they determined that on average
9 provided useful information, but it's not completely 9 those multiple-source drugs were acquired at 63.6
10 accurate. 10 percent of the average wholesale price?
li Q. What inaccuracies specifically can you ll A. That's what's represented in their
12 identify in the Myers and Stauffer conclusion about} 12 conclusions. That's their average given their
13 the cost to dispense drugs in California? 13. methodology.
14 A. I can't off the top of my head. I could 14 Q. Do you have any reason to believe that
15. refer you to the report that I produced in the 15 Myers and Stauffer's average acquisition cost
16 California Exhibit 5. 16 calculations are inaccurate?
17 Q. The -- 17 A. I think there are issues one could raise
18 A. And there we specify the criticisms. It 18 about their methods. | think it's a useful number
19 lists the criticisms | have and gives a detailed list 19 given the qualifications of how they did it. But
20 with footnotes about those criticisms. 20 again, it's an average. It's not a number that one
21 Q. Did any of your criticisms suggest that the |21 could use in a reimbursement system.
22 $10.81 cost to dispense found by Myers and Stauffer] 22 Q. And Myers and Stauffer concluded that for

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1 would result in patients who do not receive the care 1 paying below actual cost for various components and it
2 that they need and will end up seeking alternative 2 refers to the policymaker having information that
3. sources of care that may be less effective, more 3. allows them to accurately determine what's below
4 costly or both, right? 4 actual cost and having information that would allow
5 A. Based on the payments that are below the 5 them to have a policy that could be used on a broader
6 actual cost to the pharmacy and providing medications, 6 reimbursement basis over time.
7 yes. 7 Q. This statement, this true statement, one
8 Q. And you did that by calculating whether the 8 sentence true statement, doesn't say anything at all
9 revised payment with the 10 percent reduction would bq 9 about the value of or the quality of data that the
10 below the pharmacy's total cost of dispensing the 10 provider has, correct?
11 prescription, correct? li MS. BROOKER: Objection, form.
12 A. I did compare to their total cost of 12 A. This is a one sentence true statement that
13. dispensing, their cost of dispensing plus their 13 is encompassed by an entire report that gives the
14 acquisition costs. And the total payment was below 14 context under which that statement has truth. And I
15 their total cost of acquiring the product and cost of 15 would say that the entire context of this document is
16 dispensing. 16 necessary and you can't just take that statement by
17 Q. And if you turn to page romanette 2 -- it's 17 __ itself out of context.
18 the fourth page of the report, but it has romanette 2 18 Q. But you would agree with me as a general
19 on the bottom and it's in the executive summary -- and | 19 matter if the payment method that a healthcare program
20 looking at the second paragraph of the executive 20 sets for prescription payments results in an amount :
21 summary page romanette 2, for the record, it reads "If |21 that is below the cost of dispensing and related
22 the payment method sets the prescription payment 22 additional costs taken together plus the drug cost
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| amount below the actual cost for either drug produc{_1 then you will see problems with access to pharmacy |
2 cost, cost of dispensing and related additional costs, | 2 services?
3 or both, then problems with Medicare beneficiary 3 MS. BROOKER: Objection, form.
4 access to pharmacy services will occur." 4 A. I believe if pharmacies are paid below
5 That is a true statement, isn't it? 5 their cost for product and dispensing in aggregate
6 A. I don't see where you're at in the 6 over time in a program, they may choose not to
7 document. 7 participate in that program. I'm not aware, though,
8 Q. Certainly. Romanette 2. 8 that Medicaid or Medicare policy either advocate
9 A. I'm on that page. Oh. No. I'm on page 4, 9 paying pharmacies below their actual cost of
10 I guess. That's why. Yes. I see that. 10 dispensing or actual cost of ingredients.
1 Q. Is that a true statement? i So I don't believe that either Medicare or
12 A. I believe the statement to be true, yes. 12 Medicaid in general have policies that intend to pay
13 Q. And where you use Medicare did you mean |13 pharmacies below their actual cost.
14. Medicaid? 14 Q. And then if you turn to page romanette 3,
15 A. It may well be -- I probably should have 15 the very first paragraph, you define what a reasonable :
16 used Medi-Cal, I] think. And | think my word processor} 16 pharmacy payment consists of. And you say that it "i :
17 may have flipped that automatically. 17 a payment that covers the drug ingredient cost plus |
18 Q. But regardless of whether it's Medicare, 18 the cost of dispensing plus a reasonable net profit."
19 Medicaid or Medi-Cal, that notion is accurate across| 19 Is that an accurate statement of what a reasonable
20 all federal health programs, correct? 20 pharmacy payment is?
21 MS. BROOKER: Objection, form. 21 A. Inthe context of the entire report and how
22 A. Yesand no. First of all, this refers to 22 I describe that, it is. That's from the perspective

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1 of the pharmacy as a provider and as a person | dispensing that's greater than the Medi-Cal dispensing

2 operating a private business. It's a reasonable 2 fee.

3 statement from that perspective, yes. 3 Q. Why do you use inflation adjusted dollars?

4 Q. And in attempting to calculate what the 4  Imean, why don't you use just current dollars?

5 cost is to dispense drugs for purposes of this June 5 A. Well, again, Myers and Stauffer themselves

6 2008 study you relied upon Myers and Stauffer's 6 used it. And as I commented earlier, various

7 December 2007 report that we reviewed and that was} 7 businesses have changes in their prices other time and

8 marked as Exhibit 3, correct? 8 the cost of doing business. Pharmacists’ salaries

9 A. lexamined that and used information from 9 have gone up. Rents have gone up. I don't know.
10 that as well as other studies that | also used and 10 Maybe they've gone down now -- I don't know -- in the :
11 relied upon, studies conducted by the National 11 last six months. But costs do change over time. And
12 Association of Chain Drug Stores, National Community| 12 Myers and Stauffer in that particular instance

13. Pharmacist's Association. So I didn't rely solely 13 outlined what | thought was a reasonable method for

14 upon them. I did incorporate the information. | 14 adjusting.

15 critiqued and commented on its appropriate use. 15 In fact the data they collected on cost of
16 Q. Ifyou look on page romanette 5, the last 16 dispensing from pharmacies was from pharmacies that |
17 paragraph on this page, you refer to a cost of 17 had a variety of different fiscal years in terms of
18 dispensing study that was recently performed in 18 their business or tax records. And Myers and Stauffer |
19 California for the Department of Health Services. 19 had to adjust those to be in a common time period
20 There's no citation there, but you'll agree with me 20 rather than a different time period. I used the same
21 that that was the Myers and Stauffer report that you|21 method they used to adjust those to a common time
22 were referring to, right? 22 period to adjust them moving forward over time as

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l A. Yes. And you're actually in the executive 1 well.

2 summary and if you look at the full report it does 2 Q. So when you compare prices from one year to

3 recognize and cite that. But again, it doesn't rely 3. the next, do you typically use inflation adjusted

4 solely upon that. This is reporting their findings 4 dollars?

S$ from their study. 5 A. It depends on for what purpose we're

6 Q. But then you take the findings from that 6 comparing them. But if you're going to set a

7 study and adjust them to 2008 dollars in order to 7 reimbursement rate based on an attempt to estimate

8 support the opinions that you express here, correct} 8 actual cost of dispensing or actual acquisition cost,

9 A. l used their numbers. Since their numbers 9 one would want to use -- if you didn't have actual

10 were lower than other studies that | think perhaps are | 10 cost or a new survey in each time period, which would

11 more accurate, I felt it was a conservative number. 11 be costly and perhaps not so feasible in all cases,

12. And I did -- yes, pharmacies’ costs, just like other 12 then you need a method to make an adjustment for the

13 costs of businesses, do change over time. AndI did | 13 time change in cost that might occur.

14 adjust them using an inflation method that Myers and | 14 Q. If you would turn to page 8, please.

15 Stauffer themselves used to calculate their average 15 A. Regular 8?

16 across different businesses that had different fiscal 16 Q. Yes, sir. Regular 8. In the third full /
17 years. 17 paragraph leading into the block quote, beginning with |
18 Q. And you concluded that 95 percent of 18 "the total," you write "The total amount of fee for :
19 California pharmacies have a cost to dispense that's 19 service payments to a pharmacy for a prescription mus :
20 greater than the $7.25 dispensing fee that Medi-Cal| 20 be taken into account including both the actual drug |.
21 currently is providing to pharmacies, correct? 21 product cost payment and the reasonable dispensing fe :
22 A. 95 percent have an average cost of 22 payment." Why must you take into account the total :

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fee for service payments to a pharmacy for a

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expenses are paid." Do you see that?

I 1
2 prescription, including the actual drug product cost | 2 A. I see that, yes.
3. payment and the reasonable dispensing fee payment?) 3 Q. It's that additional consideration stated
4 A. Well, both will influence the business 4 in that sentence that you did not undertake in your
5 decision a pharmacy makes as to whether or not to 5 analysis for this case, correct?
6 accept or participate in a third party program. 6 MS. BROOKER: Objection, form.
7 ~~ That's different than determining what the obligation 7 A. I was not asked to undertake that analysis
8 of the payor is to do and what they choose to do given 8 and it doesn't -- isn't necessary for any of the
9 information that they know. In the paragraph just 9 opinions that I've adopted in this case. And this is
10 before that I do state what the CMS policy is with 10 ina different circumstance. This is with respect to
I] respect to estimated acquisition cost and that it 11 what is the impact on the providers and the behavior
12 clearly states that estimated acquisition cost is 12 of the providers. It's a different circumstance.
13. meant to be as close as feasible to the price 13 Q. And you weren't asked to determine what the
14 generally and currently paid by a provider and that 14 payment would have been to providers between 1991 and_
15 the states are therefore expected to set their 15 2001 to see their drug payments cut in the manner that |
16 ingredient cost levels at that rate. 16 Dr. Duggan suggests, did you?
17 Q. And then in the paragraph after the block 17 MS. BROOKER: Objection, form.
18 quote, the second sentence, you write "At the same | 18 A. Well, I wasn't asked to do the damages
19 time that Medicaid payment policy is implemented to| 19 analysis. Dr. Duggan was. I do realize that it's not
20 assure" -- 20 as simple as just if you cut the payment on drug
2] A. I'm sorry. Where is it? 21 ingredient cost you have to raise the cost of
22 Q. I'msorry. Page 8. Last paragraph. It's 22 dispensing because the pharmacies for generic
Page 339 Page 341 /
1 on the screen here. 1 products, which is what we're talking about here, the /
2 A. Oh, you skipped the first sentence of that 2 pharmacies may have actually used a different generic
3. paragraph. 3. product in the first place.
4 Q. Yes, sir. The second sentence after the 4 So | don't think you can directly connect
5 footnote 27. Weill, let's start with the first 5 those two in the way that I've done in this report and
6 sentence. You state Payment of the actual drug 6 the way that is necessary for this report. I think
7 ingredient cost via an estimated acquisition cost for} 7 they're very different issues and I don't think you
8 adrug product is 'the appropriate conceptual basis} 8 can make that connection. And certainly a connection
9 for the payment policy,'" correct? 9 of that type wasn't necessary to underpin any of the
10 A. That's the statement, yes. 10 opinions that I've offered in this case.
11 Q. And that's the notion that you've been 1 Q. This report didn't address the impact of
12 asserting in your report in this case and in your 12 using the cost or the payment to pharmacies that
13 testimony here today, correct? 13 dispense these products?
14 A. I believe that's an appropriate notion, 14 A. What do you mean by “this report"?
IS yes. 15 Q. I'msorry. Your June 2008 report in :
16 Q. In this particular report, however, you go {16 California did not address what the impact would be on
17 on and state in addition "At the same time that 17 pharmacies that dispense generic products?
18 Medicaid payment policy is implemented to assure | 18 A. My June 2008 --
19 actual cost payment for the drug product, it is 19 MS. BROOKER: Objection, form.
20 essential that the payment for the cost of dispensing, 20 A. My June 2008 report does address impact on
21 the pharmacy's overhead and profit and other costs| 21 providers. The report for the U.S. versus Abbott case
22 also be adjusted to assure that actual costs and 22 | was not asked to and didn’t address the impact on

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